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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION
Ann Marie Attridge                    §
                                      §
                Plaintiff,            §   Civil Action No.:
                                      §
v                                     §                SA:20-cv-00205-OLG
                                      §
Colonial Savings F.A.,                §
                                      §
TransUnion, LLC                       §
                                      §
               Defendants.            §

                      Plaintiff’s Amended Motion in Limine

                             ____________________
TO THE HONORABLE JUDGE OF SAID COURT:

      Plaintiff, Ann Marie Attridge, prior to the voir dire examination of

the jury panel and out of presence and hearing of the panel, files Plaintiff’s

Motion in Limine.

      Plaintiff seeks to exclude matters that are irrelevant, prejudicial, or

improper to the material issues in this cause.

      Should Defendant introduce these matters into the trial of this cause

through a party, a witness, or an attorney, such introduction will cause

irreparable harm to Plaintiff’s case, which will not be cured by any jury

instruction.
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      Plaintiff requests the Court to instruct counsel for Defendants that

violation of any of these instructions may cause harm to Plaintiff and

deprive Plaintiff of a fair and impartial trial, and the failure to abide by

such instructions may constitute contempt of court.

      Should any of these matters be brought to the attention of the jury,

either directly or indirectly, Plaintiff will be compelled to move for a

mistrial. In an effort to avoid prejudice and a possible mistrial, Plaintiff

urges that this Honorable Court consider, and grant Plaintiff’s requests as

stated herein.


      Plaintiff requests that counsel for the Defendant Colonial, F.A., and

through said counsel, all witnesses for the Defendant, be instructed by

appropriate Order of this Honorable Court to refrain from making any

interrogation, directly or indirectly, in any manner whatsoever, concerning

any of the matters hereinafter set forth, without first approaching the

Bench and obtaining a ruling from the Court outside of the presence and

hearing of all prospective Jurors ultimately selected in this cause in regard

to any alleged theory of admissibility of such matters, to-wit:


 1.   That no mention be made that this Motion has been filed or that any

      ruling has been made by the Court in response to this Motion,

      suggesting or inferring to the Jury that the Plaintiff has moved to
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     prohibit proof or that the Court has excluded proof of any particular

     matter.

     Granted: _______________            Denied: _______________


     Other: _____________________________________________




2.   Any testimony by the Defendant’s experts concerning their

     discussions with another expert. See Fed. R. Evid. 801, 802; United

     States v. Lockhart, 844 F.3d 501 (5th Cir. 2016) (citing Crawford v.

     Washinton, 124 S. Ct. 1354 (2004) (forbidding introduction of

     testimonial hearsay as evidence in itself)).

     Granted: _______________            Denied: _______________

     Other: _____________________________________________



3.   Any evidence Defendants did not produce in discovery. Defendants

     should not be permitted to present any witness not disclosed in

     response to mandatory disclosures, discovery responses, or evidence

     requested by Plaintiff but not produced by Defendants. Viasphere

     Int’l v. Vardanyan, 2014 U.S. Dist. LEXIS 206583 (9th Cir. 2014).

     Project Sentinel v. Komar, 2020 U.S. Dist. LEXIS 119048 (9th Cir.

     2020).
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     Granted: _______________          Denied: _______________

     Other: _____________________________________________



4.   That other counsel be instructed by the Court to approach the bench

     before attempting to introduce evidence in any form which has been

     excluded by this motion.

     Granted: _______________          Denied: _______________

     Other: _____________________________________________



5.   Any attempt to elicit testimony from Plaintiff about communications

     with her lawyer. Such communications are privileged. Fed. R. Evid.

     502.

     Granted: _______________          Denied: _______________

     Other: _____________________________________________



6.   Any attempt to elicit testimony from Plaintiff concerning settlement

     negotiations or agreements with any other party.

     Granted: _______________          Denied: _______________

     Other: _____________________________________________
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  7.   That there be no reference to the fact that at any time during

       discovery or otherwise, Plaintiff has invoked the attorney-client

       privilege, the attorney work-product privilege, the party

       communications privilege, or any other privileges in connection with

       this case.

       Granted: _______________           Denied: _______________

       Other: _____________________________________________



  8.   That no mention be made that any verdict returned by the Jury would

       be subject to prejudgment or post-judgment interest.

       Granted: _______________           Denied: _______________

       Other: _____________________________________________



  9.   Any attempt within the Jury’s presence or hearing to seek or request

       Plaintiff’s attorney to produce documents, to stipulate to any fact, or

       make any agreement.

       Granted: _______________           Denied: _______________

       Other: _____________________________________________



10.    Any testimony or argument suggesting or implying to the Jury that

       any party has made attempts or requests outside of the Jury’s
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      presence for the Plaintiff’s attorney to produce documents, stipulate

      to any fact, or to make any agreement.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



11.   Any matters stated in Plaintiff’s or Defendant’s pleadings that have

      been superseded by amendment, in that prior pleadings have no force

      or effect, and matters stated therein are irrelevant to these

      proceedings.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



12.   Any testimony from witnesses that were not disclosed in any party’s

      26(a) disclosures, discovery responses, or questioned in deposition.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



13.   Any mention of the probable testimony of a witness who is absent,

      unavailable, not called to testify, or not allowed, in any manner to

      testify in this case.

      Granted: _______________            Denied: _______________
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      Other: _____________________________________________



14.   Any mention, suggestion or questioning of Plaintiff or Plaintiff’s

      witnesses that relate to, accuse or impute any collateral source of

      payment to Plaintiff. Collateral source evidence is not admissible,

      and any such mention, suggestion or questioning would be incurably

      prejudicial even though objections were timely made and sustained.

      Granted: _______________             Denied: _______________

      Other: _____________________________________________



15.   Any testimony or argument suggesting or implying to the Jury that

      any party has made attempts or requests outside of the Jury’s

      presence for the Plaintiff’s attorney to produce documents, stipulate

      to any fact, or to make any agreement.

      Granted: _______________             Denied: _______________

      Other: _____________________________________________



16.   Any testimony or evidence regarding injuries Plaintiff suffered before

      the injuries that are subject of this lawsuit.

      Granted: _______________             Denied: _______________

      Other: _____________________________________________
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17.   Any attempt to introduce into evidence, or elicit testimony on, any

      document or tangible thing until counsel for the Plaintiff has the

      opportunity to view the document or tangible thing outside the

      presence of the Jury.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



18.   Any reference to discovery activities in this case, specifically

      including, without limitation, the filing of motions to compel

      discovery, the assertion of objections to discovery, disputes about the

      timeliness of discovery responses the cost of discovery.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



19.   That the Defendants and their witnesses shall refrain from any

      mention or statement as to the ability of the other parties to pay any

      Judgment rendered in this cause of action or the effect that any such

      Judgment will have on the other parties, their employees or the

      public if any.

      Granted: _______________            Denied: _______________
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      Other: _____________________________________________



20.   Any statement to the Jury which tends to inform the Jury as to the

      effect of any answer which the Jury may make to a Jury question.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



21.   Before the Court rules on the law applicable to this case, any

      statement of the law other than regarding the burden of proof and the

      basic legal definitions counsel believe to be applicable.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



22.   Any testimony or argument concerning Plaintiff’s attorney’s fee

      agreement in this case.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



23.   Offering evidence or questioning any civil litigation of any Plaintiff,

      attorney or healthcare provider has been in, without showing of

      relevance.
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      Granted: _______________            Denied: _______________

      Other: _____________________________________________



24.   Testimony, objections, or argument inconsistent with the

      Defendant’s pleadings filed with the Court prior to the filing of this

      Motion; or referring to or regarding any alleged claims, affirmative

      defenses, or other issues or subject matter not expressly contained

      within the Defendant’s pleadings filed with the Court prior to the

      filing of this Motion.

      Granted: _______________            Denied: _______________

      Other: _____________________________________________



25.   Objection to expert testimony by Dr. Kathleen Hands under Rule

      403, and under Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d

      518 (5th Cir. 1999). In accordance with this Court's order, Plaintiff

      herein includes additional objections to the Defense's experts in her

      pretrial motions. Dr. Hands wanders from her expertise and provides

      extraneous testimony without providing adequate basis for its

      admissibility. These meanderings are unduly prejudicial to Plaintiff

      and will taint the opinions of jurors and are not admissible. Under

      Stearns an expert’s opinion grounded in an erroneous assumption of
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      law may be disregarded by this Court. Id. Here, Dr. Hands claims it is

      within her opinion that the filing of this lawsuit is erroneous, that by

      Plaintiff filing this lawsuit she is choosing to blame others for how

      she is feeling. Dr. Hand’s bias is impossible to ignore. She believes

      Plaintiff blames others for her misgivings and that this lawsuit is

      unfounded. This erroneous legal conclusion will produce undue

      prejudice for Plaintiff, as jurors are likely to put more weight on her

      testimony given her title and position in society as a physician.



      Further, Plaintiff objects to other statements by Dr. Hands pertaining

      to Ian Wilson's medical history under 801, and 402. These statements

      are irrelevant hearsay, as Mr. Wilsons’ diagnosis has no relevance to

      this case. Dr. Hands learned of it only through inadmissible hearsay.

      Plaintiff asks this court to strictly limit, if not prohibit the testimony

      by Dr. Hands.

      Granted: _______________             Denied: _______________


      Other: _____________________________________________


26.   Objection to Dean Binder's Testimony, under Rule 403, 704, 602 and

      under Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518 (5th Cir.

      1999). In accordance with this Court's order, Plaintiff herein
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includes additional objections to the Defense's experts in her pretrial

motions. Dean Binder's testimony is based entirely on an erroneous

assumption of the law in the form of an improper legal opinion,

allowing this testimony to be heard by a jury would be unduly

prejudicial to Plaintiff. Owen v. Kerr-McGee Corp., 698 F.2d 236, 240

(5th Cir. 1983) (experts are not allowed to give legal conclusions).

Olson v. City of Burnet, No. A-20-CV-00162-JRN- 2021 U.S. Dist.

LEXIS 69851, at *7 (W.D. Tex. 2021) (citing Owen) (an expert's

legal opinions are inadmissible). Binder states that failing to use the

"Q" code does not constitute an FCRA violation. This inadmissible

legal conclusion is an erroneous assumption of the law which Mr.

Binder has based the entirety of his opinion that Colonial was not at

fault in the incorrect bankruptcy reporting. Following the opinion in

Stearns, this Court has the right to disregard Mr. Binder's testimony

and should do so in the furtherance of fairness and justice, as

allowing such flawed, mistaken testimony will bring unfair prejudice

unto Plaintiff and her case. Additionally, Binders testimony should be

inadmissible under Rule 602. Binder speculates as to the conduct of

the credit bureaus who were not part of this erroneous reporting.

Binder did not review any documents pertaining to these third
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     parties. He does not have personal knowledge as to these assertions

     and therefore should not be allowed to testify to them.

     Granted: _______________                   Denied: _______________


     Other: _____________________________________________


27. In accordance with this court’s order, Plaintiff states her position that her

     objections to Defendant’s expert were timely. The scheduling order in this cause

     states that objections to experts under Rule 702 were to be made within 14 days of

     the receipt of such report. Plaintiff did not bring any formal objections to

     Defendants experts under Rule 702. (Dkt. No. 12 ¶ 5). She however brings several

     objections in these motions in limine under different evidentiary rules. Fed. R. Civ.

     P. 26 provides that:


            “(B) Time for Pretrial Disclosures; Objections. Unless the court orders

            otherwise, these disclosures must be made at least 30 days before trial.

            Within 14 days after they are made, unless the court sets a different time, a

            party may serve and promptly file a list of the following objections: any

            objections to the use under Rule 32(a) of a deposition designated by another

            party under Rule 26(a)(3)(A)(ii); and any objection, together with the

            grounds for it, that may be made to the admissibility of materials identified

            under Rule 26(a)(3)(A)(iii). An objection not so made—except for one under
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             Federal Rule of Evidence 402 or 403—is waived unless excused by the court for

             good cause.” Fed. R. Civ. P. 26 (emphasis added).


      Both objections to Defendant’s experts are grounded in Rule 403, as is allowed by

      the Rules of Civil Procedure. Plaintiff’s objections outside of Rule 702 will not

      cause undue delay or waste the court’s time, instead they would help insure the

      furtherance of justice.


      Granted: _______________                   Denied: _______________


      Other: _____________________________________________


 28. Any mention of other litigants who are no longer part of this cause and settlement

      agreements between parties that are or used to be litigants in this cause. Fed. R.

      Evid. 408.

      Granted: _______________                   Denied: _______________

      Other: _____________________________________________


      WHEREFORE, PREMISES CONSIDERED, Plaintiff requests the

Court to instruct Defendants and all counsel not to mention, refer to,

interrogate about, or attempt to convey to the jury in any manner, either

directly or indirectly, any of these matters without first obtaining the

Court’s permission outside the presence and hearing of the jury, and
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further instruct Defendants and all counsel to warn and caution each of

their witnesses to follow the same instructions.


Dated: July 13, 2022                     Respectfully Submitted,


                                         /s/William M. Clanton

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                                         Texas Bar No. 24049436

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